        Case 1:21-cr-00380-CKK Document 207 Filed 04/21/23 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
       v.
                                                   Criminal Action No. 21-380 (CKK)
BRIAN JEFFREY RAYMOND,
            Defendant


                                        ORDER
                                     (April 21, 2023)

      For the reasons stated in the accompanying Memorandum Opinion, it is hereby

     ORDERED, that Defendant’s [179] Motion for Bond and Release from Custody is
DENIED.

      SO ORDERED.

      Dated: April 21, 2023
                                                  /s/
                                                COLLEEN KOLLAR-KOTELLY
                                                United States District Judge
